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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


      JOHN J. JERUE, et al.,

                    Plaintiffs,

      v.                                              Case No. 8:17-cv-587-TPB-AEP

      DRUMMOND COMPANY, INC.,

                    Defendant.
                                                  /

                                            ORDER

            This cause came before the Court for a hearing upon Defendant’s Motion for

      Protective Order, Sanctions and Other Relief for Discovery Abuse (Doc. 201) and

      the response submitted in opposition thereto (Doc. 203). As discussed more fully

      and for the reasons articulated during the hearing, it is hereby

            ORDERED:

            1.      Plaintiff’s Motion for Protective Order, Sanctions and Other Relief for

      Discovery Abuse (Doc. 167) is GRANTED IN PART AND DENIED IN PART,

      as follows:

                    a.     Plaintiff’s request to limit the depositions of the witnesses

      referenced by the undersigned’s previous Order regarding the named affiants in

      Exhibit 1 attached to Defendant’s response in opposition to Plaintiff’s Motion for

      Class Certification (Doc. 188) is granted to the extent that the depositions are

      limited to no more than ten witnesses. The depositions shall occur within thirty (30)
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      days from the date of this Order. Plaintiff’s examination of each witness shall not

      exceed three hours and Defendant’s examination of each witness shall not exceed

      one hour. The parties are directed to meet and confer regarding the scheduling of

      the ten depositions and provide the undersigned’s chambers with said schedule to

      the chambers inbox at Chambers_FLMD_Porcelli@flmd.uscourts.gov.

                   b.     Defendant’s request for sanctions and other relief is denied.

            2.     During the depositions, the parties are barred from soliciting testimony

      regarding the deponents’ option to opt out of a potential class action in this matter.

            DONE AND ORDERED in Tampa, Florida, on this 7th day of July, 2022.




      cc:   Counsel of Record




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